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 Memorandum                                                             2/8/2021
  2:21-cr-00026 -SVW                                                       JB




 Subject:                                            Date:

 United States v. Hematology Oncology                February 8, 2021
 Consultants, G.P. et al.
 To:                                                 From:

 KIRY K. GRAY                                        JOSEPH O. JOHNS
 Clerk, United States District Court                 Assistant United States Attorney
 Central District of California                      Criminal Division



The above-referenced matter, being filed on February 8, 2021:

            x      Relates to a matter that was pending in the USAO on or before August 8, 2014,
            the date the Honorable André Birotte Jr. resigned from his position as the Acting United
            States Attorney for the Central District of California.

                                                      /s/ Joseph O. Johns 2/8/21

                                                     JOSEPH O. JOHNS
                                                     Assistant United States Attorney
